           Case 1:14-cr-00179-LJO-SKO Document 22 Filed 12/04/14 Page 1 of 1
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                                                    United States District Court                                                      CLERK, U.S. DISTRICT COURT
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                 United States of America                                             )
                                  vs.                                                 )   Case No. 1 :14-cr-00179-LJO/SK0-002
                                                                                      )
                    Jamie Lyne Sanchez

                     CONSENT TO MODIFY CONDITIONS OF RELEASE
 I,      Jamie Lyne Sanchez        , have discussed with                                              Francisco J. Guerrero                , Pretrial Services
 Officer, modifications of my release conditions as follows:

The condition requiring the defendant to participate in the home detention component of the Location Monitoring
Program with electronic monitoring or other location verification system is removed. The defendant shall
continue to make payments for the monitoring costs until her monitoring services have been paid in full. All
other conditions not in conflict with this order shall remain in full force and effect.



I consent to this modification of my release conditions and agree to abide by this modification.
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   ~~-X.v ·tt:/rt ~-                                    12· 2-·1 Lf-·                            Is/ Francisco J. Guerrero                           12/01/2014
Signature of Defendant                             Date                                          Pretrial Services Officer                    Date


I have reviewed the conditions and concur that this modification is appropriate.

Is/ Brian K. Delaney
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Signature of Assistant United States ~ttomeyA                              .-""'·'/   //         _·                          Date
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__ /                                                                     ORDER OF THE COURT
[31 The above moditict\tion of conditions of release is ordered, to be effective on                                                  (2.-/ L{ /I 'f
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0 The above modification of c(}nditions of release is not ordered.

                           tcer                                                                                              Date
                  ttorney's Office, Defense Counsel, Pretrial Services
